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  August 1, 2024

  Honorable Rukhsanah L. Singh, U.S.M.J
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

            Re:       Johnson & Johnson Talcum Powder Products, Marketing, Sales
                      Practices and Products Liability Litigation
                      Case No.: 3:16-md-02738-MAS-RLS

  Dear Judge Singh:

          The Plaintiffs’ Steering Committee (PSC) issued a Notice of Deposition to
  each of Defendant Johnson & Johnson’s (“J&J”) experts that included requests for
  certain categories of relevant documents. See Ex. 1. As part of these requests,
  Plaintiffs sought copies of invoices submitted by J&J’s experts to J&J for expert
  work relating to all talc cases filed in federal and state court that allege injuries for
  ovarian cancer and mesothelioma as a result of using J&J’s talcum powder products.
  Notably, Defendants already have the invoices for Plaintiffs’ experts, and in many
  instances, Plaintiffs have provided J&J with all Plaintiffs’ expert witness invoices in
  Plaintiffs counsel’s possession for expert work performed in all talc cases filed in
  federal and state court that allege injuries for ovarian cancer and mesothelioma as a
  result of using J&J’s talcum powder products. With Plaintiffs’ expert invoices in
  hand, J&J is now insisting on producing invoices related to the work performed by
  its experts for this MDL only.
          This information is relevant to demonstrate potential bias or financial interest
  and may be used for impeachment purposes. Accordingly, Plaintiffs respectfully
  move this Court to compel J&J to produce invoices for its experts’ work relating to
  all talc cases filed in federal and state court that allege injuries for ovarian cancer
  and mesothelioma as a result of using J&J’s talcum powder products for the reasons
  set forth herein.
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     I.    ARGUMENT

         Parties may obtain discovery regarding any nonprivileged matter that is
  relevant to any party’s claim or defense, and such discovery need not be admissible
  in evidence to be discoverable. See Fed. R. Civ. P. 26(b)(1). “The scope of discovery
  in a federal action has been described as ‘unquestionably broad.’” United States v.
  Nobel Learning Cmtys., 329 F.R.D. 524, 527 (D.N.J. 2018) (citing Bayer AG v.
  Betachem, Inc., 173 F.3d 188, 191 (3d Cir. 1999)).

         District courts within the Third Circuit and in other federal jurisdictions
  routinely permit discovery relating to an expert witness’s compensation as relevant
  to show possible bias or financial interest. “The courts have held that the amount of
  income derived from services related to testifying as an expert witness is relevant to
  show bias or financial interest.” Smith v. Transducer Tech., Inc., 2000 U.S. Dist.
  LEXIS 17217, at *4 (D.V.I. Nov. 16, 2000) (collecting cases and compelling
  production of expert witnesses’ invoices and requests for payments billed to
  plaintiff’s attorney for two-year period); see also Good v. First Energy Corp., 2016
  U.S. Dist. LEXIS 15311, at *15-16 (M.D. Pa. Feb. 9, 2016) (recognizing that fees
  received by experts may be relevant to establish bias and may affect the way jury
  views witnesses’ credibility).

         District courts in other jurisdictions have also routinely permitted discovery
  of expert witness compensation in past cases because a pattern of compensation
  raises an inference of possible slanted testimony. For example, in Bello v. Horace
  Mann Cos., 2010 U.S. Dist. LEXIS 165785, at *5 (E.D. La. Mar. 11, 2010), the court
  determined that “the financial relationship between a party and an expert witness is
  relevant to show bias.” Id. at *6. The Bello court noted that “[t]he United States
  Court of Appeals for the Fifth Circuit has held that an expert witness may be cross-
  examined about fees earned in prior cases to demonstrate bias.” Id. at *5 (citing
  Collins v. Wayne Corp., 621 F.2d 777, 874 (5th Cir. 1980)). “A showing of a pattern
  of compensation in past cases raises an inference of the possibility that the witness
  has slanted his testimony in those cases so he would be hired to testify in future
  cases.” Id. (quoting Collins, 621 F.2d at 777).

        Similarly, in First Choice Armor & Equip., Inc. v. Toyobo Am., Inc., 273
  F.R.D. 360, 361 (D. Mass. 2011), the court denied defendant’s request for a
  protective order and held that compensation paid by defendants to its experts in that
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  case and related cases since 2003 was relevant to demonstrate possible bias.
  “Pursuant to Fed. R. Civ. P. 26(a)(2)(B), a party must disclose the compensation to
  be paid to its expert witness for the study and testimony in the case. In addition,
  some courts allow discovery into an expert’s compensation in related cases or by a
  particular party over a specified period of time on the ground that such information
  is relevant to the expert’s credibility and possible bias.” Id. (collecting cases) and
  (citing Amster v. River Capital Int’l Grp., LLC, 2002 U.S. Dist. LEXIS 16595
  (S.D.N.Y. Sept. 4, 2002) (listing cases and ordering disclosure of amount of
  compensation paid by party to expert in that case and over prior time period)).

         In Coleman Co. v. Team Worldwide Corp., 2021 U.S. Dist. LEXIS 213395,
  at *7 (E.D. Va. Oct. 18, 2021), the court permitted plaintiff’s request for defendant’s
  compensation to its expert witness in support of defendant’s litigation from 2015 to
  2021. The court found that past witness compensation in similar matters was a
  relevant, potential source of bias. Id. (quoting Bluestone Coal Corp. v. CNX Land
  Res. Inc., 2009 U.S. Dist. LEXIS 62803 (S.D.W. Va. July 1, 2009) (“It is well-settled
  that the amount of an expert’s compensation is relevant to bias.”)).

          In a pelvic mesh case, Kieffaber v. Ethicon, Inc., 2021 U.S. Dist. LEXIS
  57891, at *14-15 (D. Kan. Mar. 26, 2021), plaintiff moved the court to exclude any
  reference to the amounts paid to expert witnesses in cases other than the case at bar,
  arguing that such testimony was irrelevant and could improperly influence the jury.
  The court denied the motion, stating, “Overall compensation, including financial
  interests or investments in the litigation of pelvic mesh cases, is highly relevant and
  probative on the issue of bias, and its relevance is the reason to admit it – not exclude
  it.” Id.

         Courts have also recognized the importance of obtaining this type of
  information for impeachment purposes. “Rule 26(b)(4)(A) should be construed so
  as to sanction liberal discovery of expert witnesses, including information relevant
  only for impeachment.” Bockweg v. Anderson, 11 F.R.D. 563, 565 (M.D.N.C.
  1987). “Indeed, prohibiting cross-examination of an expert concerning his biases,
  fees, and related matters would normally be reversible error.” Id. at 566 (permitting
  questioning of expert witnesses concerning their involvement, past or present, in
  other malpractice actions).

        “Evidence of a special relationship between an expert witness and legal
  counsel is relevant to demonstrate the possible bias of the expert witness.” Butler v.
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  Rigsby, 1998 U.S. Dist. LEXIS 4618, at *7 (E.D. La. Apr. 7, 1998). “Similarly, an
  expert witness’[s] experiences in prior lawsuits [are] relevant to demonstrate
  possible biases.” Id. at *8. Furthermore, “the amount of income derived from
  services related to testifying as an expert witness is relevant to show bias or financial
  interest.” Id. at *10 (citing Wacker v. Gehl Co., 157 F.R.D. 58, (W.D. Mo. 1994)
  (stating that tax returns of expert witness might lead to admissible evidence of bias
  and could be used for impeachment purposes)).

         Here, Plaintiffs are entitled to copies of invoices submitted by J&J’s experts
  to J&J for expert work relating to all talc cases filed in federal and state court that
  allege injuries for ovarian cancer and mesothelioma as a result of using J&J’s talcum
  powder products. The amount of compensation paid by J&J to its experts in this and
  related litigation is relevant to demonstrate potential bias or financial interest and
  could be used for impeachment purposes.

        II.      CONCLUSION

         Accordingly, Plaintiffs respectfully request this Court to compel J&J to
  produce copies of invoices for its experts’ work relating to all talc cases filed in
  federal and state court that allege injuries for ovarian cancer and mesothelioma as a
  result of using J&J’s talcum powder products.

              Thank you for your consideration of this matter.

                                          Respectfully submitted,

                    /s/ P. Leigh O'Dell                     /s/ Michelle A. Parfitt

                    P. Leigh O'Dell                         Michelle A. Parfitt

  cc:         Hon. Joel Schneider (U.S.M.J, ret.)
              Susan Sharko, Esq. (via email)
